        Case 14-00417-ref            Doc 38 Filed 06/19/15 Entered 06/20/15 01:14:04                                Desc Imaged
                                           Certificate of Notice Page 1 of 2
                                              United States Bankruptcy Court
                                            Eastern District of Pennsylvania
Lehighton Land Company,
         Plaintiff                                                                                Adv. Proc. No. 14-00417-ref
CAD Holdings LLC,
         Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0313-4                  User: dlv                          Page 1 of 1                          Date Rcvd: Jun 17, 2015
                                      Form ID: pdf900                    Total Noticed: 11


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 19, 2015.
aty            +BARRY W. DEGROOT,   18 W. State Street,   Doylestown, PA 18901-4240
ust            +BRENDA D. GISH,   Office of United States Trustee - U.S. D,   Federal Building,
                 228 Walnut Street, 11th Floor,   Harrisburg, PA 17101-1722
dft            +CAD Holdings LLC,   701 W. Broad Street, Suite 200,   Bethlehem, PA 18018-5229
dft            +DLP Realty,   701 W. Broad Street, Suite 200,   Bethlehem, PA 18018-5229
dft            +Donald R Wenner,   701 W. Broad Street, Suite 200,   Bethlehem, PA 18018-5229
md             +John R.K. Solt,   1425 West Hamilton Street,   Allentown, PA 18102-4224
pla            +Lehighton Land Company,   4440 S. Cedarbrook Road,   Allentown, PA 18103-6002

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
ust            +E-mail/Text: ustpregion03.ph.ecf@usdoj.gov Jun 18 2015 01:37:04       Frederic J. Baker,
                 Office of United States Trustee,    833 Chestnut Street,    Suite 500,
                 Philadelphia, PA 19107-4405
ust            +E-mail/Text: USTPRegion03.WL.ECF@USDOJ.GOV Jun 18 2015 01:37:04       SHAKIMA L. DORTCH,
                 U.S. Dept. of Justice - U.S. Trustee,    844 N. King Street,    Suite 2207,
                 Wilmington, DE 19801-3519
ust            +E-mail/Text: USTPRegion03.HA.ECF@USDOJ.GOV Jun 18 2015 01:37:04       United States Trustee,
                 228 Walnut Street, Suite 1190,    Harrisburg, PA 17101-1722
ust            +E-mail/Text: ustpregion03.ph.ecf@usdoj.gov Jun 18 2015 01:37:04       United States Trustee,
                 Office of the U.S. Trustee,    833 Chestnut Street,   Suite 500,    Philadelphia, PA 19107-4405
                                                                                              TOTAL: 4

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 19, 2015                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 17, 2015 at the address(es) listed below:
              DEXTER K. CASE   on behalf of Plaintiff    Lehighton Land Company dkc@cdllawoffice.com,
               dmk@cdllawoffice.com
              JOHN R.K. SOLT   on behalf of Mediator John R.K. Solt jsolt.soltlaw@rcn.com,
               sbennett.jrksolt@gmail.com
                                                                                             TOTAL: 2
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